Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 1 of 13

                                    UNITED STATES DISTRIT COURT
                                    SOUTHERN DISTRICT FLORIDA

   JOSE GLEN RODRIGUEZ, individually and on                                    CLASS ACTION
   behalf of all others similarly situated,
                                                                                    Case No.
         Plaintiff,
                                                                         JURY TRIAL DEMANDED
   vs.

   SMILEDIRECTCLUB, LLC,

     Defendant.
   __________________________________________/

                                       CLASS ACTION COMPLAINT

             1.       Plaintiff, Jose Glen Rodriguez (“Plaintiff”), brings this action against Defendant,

  SmileDirectClub, LLC (“Defendant”), to secure redress for violations of the Telephone Consumer

  Protection Act (“TCPA”), 47 U.S.C. § 227.

                                          NATURE OF THE ACTION

             2.       This is a putative class action pursuant to the Telephone Consumer Protection Act, 47

  U.S.C. § 227 et seq., (the “TCPA”).

             3.       Defendant is a publicly traded orthodontic device company that sells tooth alignment

  products to consumers.

             4.       Through this action, Plaintiff seeks injunctive relief to halt Defendant’s illegal conduct,

  which has resulted in the invasion of privacy, harassment, aggravation, and disruption of the daily life

  of thousands of individuals. Plaintiff also seeks statutory damages on behalf of himself and members

  of the class, and any other available legal or equitable remedies.

                                         JURISDICTION AND VENUE

             5.       Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

  statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

  which will result in at least one class member belonging to a different state than that of Defendant.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 2 of 13



  Plaintiff seeks up to $1,500.00 (one-thousand-five-hundred dollars) in damages for each call in violation

  of the TCPA, which, when aggregated among a proposed class numbering in the tens of thousands, or

  more, exceeds the $5,000,000.00 (five-million dollars) threshold for federal court jurisdiction under the

  Class Action Fairness Act (“CAFA”). Therefore, both the elements of diversity jurisdiction and CAFA

  jurisdiction are present.

          6.      Venue is proper in the United States District Court for the Southern District of Florida

  pursuant to 28 U.S.C. § 1391(b) and (c) because Defendant is deemed to reside in any judicial district

  in which it is subject to the court’s personal jurisdiction, and because Defendant provides and markets

  its services within this district thereby establishing sufficient contacts to subject it to personal

  jurisdiction. Further, Defendant’s tortious conduct against Plaintiff occurred within the State of Florida

  and, on information and belief, Defendant has sent the same text messages complained of by Plaintiff

  to other individuals within this judicial district, such that some of Defendant’s acts in making such calls

  have occurred within this district, subjecting Defendant to jurisdiction in the State of Florida.

                                                 PARTIES

          7.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

  Broward County, Florida.

          8.      Defendant is a Tennessee corporation whose principal place of business is located in

  Nashville, Tennessee. Defendant directs, markets, and provides its business activities throughout the

  State of Florida.

          9.      Unless otherwise indicated, the use of Defendant’s name in this Complaint includes

  all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

  sureties, subrogees, representatives, vendors, and insurers of Defendant.

                                                   FACTS
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 3 of 13



         10.     On or about July 12, 2023, Defendant sent or caused to be sent to Plaintiff a

  telemarketing text message to Plaintiff’s cellular telephone number ending in 6952 (the “6952

  Number”). The message included the following op-out instruction: “Text STOP to opt out.”




         11.     On July 12, 2023, Plaintiff responded with the word “Stop” in an attempt to opt-

  out of any further text message communications with Defendant.

         12.     Despite Plaintiff’s use of Defendant’s preferred opt-out language, Defendant

  ignored Plaintiff’s opt-out demand and sent Plaintiff another telemarketing text message on or

  about July 13, 2023.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 4 of 13



         13.    On July 13, 2023, Plaintiff again responded with the word “Stop” in another attempt

  to opt-out of any further text message communications with Defendant.

         14.    Despite Plaintiff’s use of Defendant’s preferred opt-out language, Defendant

  ignored Plaintiff’s second opt-out demand and sent Plaintiff another telemarketing text message

  on or about July 18, 2023.

         15.    On July 18, 2023, Plaintiff again responded with the word “Stop” a third attempt to

  opt-out of any further text message communications with Defendant.

         16.    Despite Plaintiff’s use of Defendant’s preferred opt-out language, Defendant

  ignored Plaintiff’s third opt-out demand and sent Plaintiff another telemarketing text message on

  or about July 22, 2023:
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 5 of 13



          17.     Defendant’s text messages were transmitted to Plaintiff’s cellular telephone, and within

  the time frame relevant to this action.

          18.     Defendant’s text messages constitute telemarketing because they encouraged the future

  purchase or investment in property, goods, or services, i.e., selling Plaintiff Defendant’s retainers.

          19.     The information contained in the text message advertises Defendant’s various discounts

  and promotions, which Defendant sends to promote its business.

          20.     Plaintiff received sent the subject texts from within this judicial district and, therefore,

  Defendant’s violation of the TCPA occurred within this district. Upon information and belief,

  Defendant caused other text messages to be sent to individuals residing within this judicial district.

          21.     Defendant’s texts were not made for an emergency purpose or to collect on a debt

  pursuant to 47 U.S.C. § 227(b)(1)(B).

          22.     Defendant’s calls did not disclose the name of the individual caller pursuant to 47

  C.F.R. § 64.1200(d)(4).

          23.     Defendant’s calls did not provide a telephone number or address at which

  Defendant may be contacted pursuant to 47 C.F.R. § 64.1200(d)(4).

          24.     At no point in time did Plaintiff provide Defendant with his express written consent to

  be contacted.

          25.     Plaintiff has no existing business relationship with Defendant.

          26.     Plaintiff is the subscriber and sole user of the 6952 Number and is financially

  responsible for phone service to the 6952 Number.

          27.     The text messages originated from telephone number 85902, a number which upon

  information and belief is owned and operated by Defendant or on behalf of Defendant.

          28.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including

  invasion of his privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

  Defendant’s text messages also inconvenienced Plaintiff and caused disruption to his daily life.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 6 of 13



          29.     Defendant’s unsolicited text messages caused Plaintiff actual harm. Specifically,

  Plaintiff estimates that he has wasted fifteen to thirty seconds reviewing each of Defendant’s

  unwanted messages. Each time, Plaintiff had to stop what he was doing to either retrieve his phone

  and/or look down at the phone to review the message.

          30.     Next, Plaintiff wasted approximately fifteen minutes locating and retaining counsel

  for this case in order to stop Defendant’s unwanted calls. In all, Defendant’s violations of the

  TCPA caused Plaintiff to waste at least fifteen minutes of his time in addressing and attempting to

  stop Defendant’s solicitations.

                                         CLASS ALLEGATIONS

          PROPOSED CLASS

          31.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

  himself and all others similarly situated.

          32.     Plaintiff brings this case on behalf of a Class defined as follows:

                       Internal Do Not Call Class: All persons within the United
                       States who, within the four years prior to the filing of this
                       Complaint, were sent a text message from Defendant or
                       anyone on Defendant’s behalf, to said person’s cellular
                       telephone number after making a request to Defendant to
                       not receive future text messages

                       Seller Identification Class: All persons within the United
                       States who, within the four years prior to the filing of this
                       Complaint, were sent a text message from Defendant or
                       anyone on Defendant’s behalf, that did not disclose: (1) the
                       name of the individual caller; or (2) the name of the person
                       or entity on whose behalf the call is being made; or (3) a
                       telephone number or address at which the person or entity
                       may be contacted.

          33.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not

  know the number of members in the Class, but believes the Class members number in the several

  thousands, if not more.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 7 of 13



             NUMEROSITY

         34.      Upon information and belief, Defendant has placed violative calls to cellular telephone

  numbers belonging to thousands of consumers throughout the United States who are registered on the

  Do Not Call registry, who had already requested to be opted out of further communications, and without

  including important seller identification information in the messages. The members of the Class,

  therefore, are believed to be so numerous that joinder of all members is impracticable.

         35.      The exact number and identities of the Class members are unknown at this time and can

  only be ascertained through discovery. Identification of the Class members is a matter capable of

  ministerial determination from Defendant’s call records.

               COMMON QUESTIONS OF LAW AND FACT

         36.      There are numerous questions of law and fact common to the Class which predominate

  over any questions affecting only individual members of the Class. Among the questions of law and

  fact common to the Class are:

                  a) Whether Defendant violated 47 C.F.R. § 64.1200(d);
                  b) Whether Defendant adhered to requests by class members to stop sending text
                     messages to their telephone numbers;
                  c) Whether Defendant keeps records of text recipients who revoked consent to receive
                     texts;
                  d) Whether Defendant has any written policies for maintaining an internal do not call

                     list;
                  e) Whether Defendant’s conduct was knowing and willful;
                  f) Whether Defendant violated the privacy rights of Plaintiff and members of the class;
                  g) Whether Defendant is liable for damages, and the amount of such damages; and
                  h) Whether Defendant should be enjoined from such conduct in the future.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 8 of 13



          37.     The common questions in this case are capable of having common answers. If Plaintiff’s

  claim that Defendant routinely transmits text messages to telephone numbers assigned to cellular

  telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

  being efficiently adjudicated and administered in this case.

                TYPICALITY

          38.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based

  on the same factual and legal theories.

                PROTECTING THE INTERESTS OF THE CLASS MEMBERS

          39.     Plaintiff is a representative who will fully and adequately assert and protect the interests

  of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

  and will fairly and adequately protect the interests of the Class.

                PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

          40.     A class action is superior to all other available methods for the fair and efficient

  adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

  economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

  Class are in the millions of dollars, the individual damages incurred by each member of the Class

  resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

  lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

  and, even if every member of the Class could afford individual litigation, the court system would be

  unduly burdened by individual litigation of such cases.

          41.     The prosecution of separate actions by members of the Class would create a risk of

  establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For example,

  one court might enjoin Defendant from performing the challenged acts, whereas another may not.

  Additionally, individual actions may be dispositive of the interests of the Class, although certain class

  members are not parties to such actions.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 9 of 13



                                               COUNT I
                            Violation of the TCPA 47 U.S.C. § 227(c)(2)
                    (On Behalf of the Plaintiff and the Internal Do Not Call Class)

         42.     Plaintiff repeats and realleges the paragraphs 1 through 41 of this Complaint and

  incorporates them by reference herein.

         43.     The TCPA provides that any “person who has received more than one telephone call

  within any 12-month period by or on behalf of the same entity in violation of the regulations prescribed

  under this subsection may” bring a private action based on a violation of said regulations, which were

  promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone solicitations

  to which they object. 47 U.S.C. § 227(c)(5).

         44.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

  telemarketing purposes to a residential telephone subscriber unless such person or entity has instituted

  procedures for maintaining a list of persons who request not to receive telemarketing calls made by or

  on behalf of that person or entity. The procedures instituted must meet certain minimum standards,

  including:

         (3) Recording, disclosure of do-not-call requests. If a person or entity making a call for
         telemarketing purposes (or on whose behalf such a call is made) receives a request from
         a residential telephone subscriber not to receive calls from that person or entity, the
         person or entity must record the request and place the subscriber’s name, if provided,
         and telephone number on the do-not call list at the time the request is made. Persons or
         entities making calls for telemarketing purposes (or on whose behalf such calls are
         made) must honor a residential subscriber’s do-not-call request within a reasonable time
         from the date such request is made. This period may not exceed thirty days from the
         date of such request . . . .

         (6) Maintenance of do-not-call lists. A person or entity making calls for telemarketing
         purposes must maintain a record of a consumer’s request not to receive further
         telemarketing calls. A do-not-call request must be honored for 5 years from the time the
         request is made.

  47 C.F.R. § 64.1200(d)(3), (6).
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 10 of 13



          45.     Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. § 64.1200(d) are applicable

  to any person or entity making telephone solicitations or telemarketing calls to wireless telephone

  numbers:

          (e) The rules set forth in paragraph (c) and (d) of this section are applicable to any person
          or entity making telephone solicitations or telemarketing calls to wireless telephone
          numbers to the extent described in the Commission's Report and Order, CG Docket No.
          02-278, FCC 03-153, “Rules and Regulations Implementing the Telephone Consumer
          Protection Act of 1991

  47 C.F.R. § 64.1200(e).

          46.     Plaintiff and the Internal Do Not Call Class members made requests to Defendant not

  to receive calls from Defendant.

          47.     Defendant failed to honor Plaintiff and the Internal Do Not Call Class members’

  requests.

          48.     Upon information and belief, Defendant has not instituted procedures for maintaining a

  list of persons who request not to receive telemarketing calls made by or on behalf of their behalf,

  pursuant to 47 C.F.R. § 64.1200(d).

          49.     Because Plaintiff and the Internal Do Not Call Class members received more than one

  text message in a 12-month period made by or on behalf of Defendant in violation of 47 C.F.R. §

  64.1200(d), as described above, Defendant violated 47 U.S.C. § 227(c)(5).

          50.     As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the Internal

  Do Not Call Class members are entitled to an award of $500.00 in statutory damages, for each and every

  negligent violation, pursuant to 47 U.S.C. § 227(c)(5).

          51.     As a result of Defendant’s violations of 47 U.S.C. § 227(c)(5), Plaintiff and the Internal

  Do Not Call Class members are entitled to an award of $1,500.00 in statutory damages, for each and

  every knowing and/or willful violation, pursuant to 47 U.S.C. § 227(c)(5).

          52.     Plaintiff and the Internal Do Not Call Class members also suffered damages in the form

  of invasion of privacy.
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 11 of 13



          53.     Plaintiff and the Internal Do Not Call Class members are also entitled to and seek

  injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C. § 227(c)(5).

                                               COUNT II
                             Violations of the TCPA, 47 U.S.C. § 227(b)
                     (On Behalf of the Plaintiff and the Seller Identification Class)

          54.     Plaintiff re-alleges and incorporates the foregoing allegations set forth in paragraphs 1

  through 41 as is fully set forth herein.

          55.     Under 47 C.F.R. § 64.1200(d), “[n]o person or entity shall initiate any call for

  telemarketing purposes to a residential telephone subscriber unless such person or entity has instituted

  procedures for maintaining a list of persons who request not to receive telemarketing calls made by or

  on behalf of that person or entity. The procedures instituted must meet certain minimum standards,

  including:

          (4) Identification of sellers and telemarketers. A person or entity making a call for
          telemarketing purposes must provide the called party with the name of the individual caller, the
          name of the person or entity on whose behalf the call is being made, and a telephone number or
          address at which the person or entity may be contacted.

  47 C.F.R. § 64.1200(d)(4).

          56.     Under 47 C.F.R § 64.1200(e) the rules set forth in 47 C.F.R. § 64.1200(d) are applicable

  to any person or entity making telephone solicitations or telemarketing calls to wireless telephone

  numbers:

          (e) The rules set forth in paragraph (c) and (d) of this section are applicable to any person or
          entity making telephone solicitations or telemarketing calls to wireless telephone numbers to
          the extent described in the Commission's Report and Order, CG Docket No. 02-278, FCC 03-
          153, “Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991.

  47 C.F.R. § 64.1200(e).

          57.     Pursuant to 47 C.F.R. § 64.1200(d)(4), Defendant’s contact of Plaintiff’s cellular phone

  without disclosing the name of the individual caller constitutes a violation of 47 U.S.C. § 227(c).
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 12 of 13



            58.    Pursuant to 47 C.F.R. § 64.1200(d)(4), Defendant’s contact of Plaintiff’s cellular phone

  without providing a telephone number or address at which Defendant may be contacted constitutes a

  violation of 47 U.S.C. § 227(c).

            59.    As a result of Defendant’s violations of 47 U.S.C. § 227(c) Plaintiff and the Seller

  Identification Class members are entitled to an award of $500.00 in statutory damages, for each and

  every negligent violation, pursuant to 47 U.S.C. § 227(c)(5)(B).

            60.    As a result of Defendant’s violations of 47 U.S.C. § 227(c), Plaintiff and the Internal Do

  Not Call Class members are entitled to an award of $1,500.00 in statutory damages, for each and every

  knowing and/or willful violation, pursuant to 47 U.S.C. § 227(c)(5)(B).

            61.    Plaintiff and the Seller Identification Class members are also entitled to and seek

  injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to 47 U.S.C. § 227(c)(5).

                                         PRAYER FOR RELIEF
            WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

  relief:

      a) An order certifying this case as a class action on behalf of the Class as defined above, and

  appointing Plaintiff as the representative of the Class and Plaintiff’s counsel as Class Counsel;

      b) An award of actual and statutory damages for Plaintiff and each member of the Class;

      c) An order declaring that Defendant’s actions, set out above, violate the TCPA;

      d) An injunction requiring Defendant to cease all unsolicited text messaging activity, and to

  otherwise protect the interests of the Class;

      e) Such further and other relief as the Court deems necessary.

                                             JURY DEMAND

             Plaintiff and Class Members hereby demand a trial by jury.

                              DOCUMENT PRESERVATION DEMAND
Case 0:23-cv-61461-AHS Document 1 Entered on FLSD Docket 07/31/2023 Page 13 of 13



         Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

  databases or other itemizations associated with the allegations herein, including all records, lists,

  electronic databases or other itemizations in the possession of any vendors, individuals, and/or

  companies contracted, hired, or directed by Defendant to assist in sending the alleged communications.

  Dated: July 28, 2023

                                                       Shamis & Gentile P.A.
                                                       /s/ Andrew Shamis
                                                       Andrew J. Shamis, Esq.
                                                       Florida Bar No. 101754
                                                       ashamis@shamisgentile.com
                                                       /s/ Garrett Berg
                                                       Garrett O. Berg, Esq.
                                                       Florida Bar No. 1000427
                                                       gberg@shamisgentile.com
                                                       14 NE 1st Ave., Suite 705
                                                       Miami, Florida 33132
                                                       Telephone: 305-479-2299

                                                       EDELSBERG LAW, P.A.
                                                       Scott Edelsberg, Esq.
                                                       Florida Bar No. 0100537
                                                       Christopher Gold, Esq.
                                                       Florida Bar No. 088733
                                                       scott@edelsberglaw.com
                                                       chris@edelsberglaw.com
                                                       20900 NE 30th Ave., Suite
                                                       417
                                                       Aventura, FL 33180
                                                       Office: (786) 289-9471
                                                       Direct: (305) 975-3320
                                                       Fax: (786) 623-0915

                                                  Counsel for Plaintiff and the Class
